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 4 Entered on Docket
  October 24, 2018
__________________________________________________________________
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 6
     ANDERSEN LAW FIRM, LTD.
 7
     Ryan A. Andersen, Esq.
 8   Nevada Bar No. 12321
     Email: ryan@vegaslawfirm.legal
 9   101 Convention Center Drive
     Suite 600
10   Las Vegas, Nevada 89109
11   Phone: 702-522-1992
     Fax: 702-825-2824
12
     ARNALL GOLDEN GREGORY LLP
13   Frank N. White, Esq.
     Admitted Pro Hac Vice
14   Email: frank.white@agg.com
15   171 17th Street NW, Suite 2100
     Atlanta, Georgia 30363
16   Phone: 404-873-8744
     Fax: 404-873-8745
17
     Attorneys for Worldpay, LLC
18

19                              UNITED STATES BANKRUPTCY COURT

20                                      DISTRICT OF NEVADA

21    In re:                                      Case No.: 18-14683-LEB
                                                  Chapter 11
22
      GUMP’S HOLDINGS, LLC,
23                                                Jointly administered with:
                Affect this Debtor.              No.: 18-14684-LEB (In re Gump’s Corp.)
24                                                No.: 18-14685-LEB (In re Gump’s By Mail, Inc.)
                Affects all Debtors.
25                                                Current Hearing Date:      October 30, 2018
                Affects Gump’s Corp.
                Affects Gump’s By Mail, Inc.     Current Hearing Time:      9:30 a.m.
26

27                                                Continued Hearing Date: November 13, 2018
                                                  Continued Hearing Time: 9:30 a.m.

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     ORDER CONTINUING HEARING ON MOTION FOR PRECAUTIONARY RELIEF FROM
 1        THE AUTOMATIC STAY AND OTHER RELIEF NECESSARY TO PERMIT
 2     PROCESSING OF CREDIT CARD TRANSACTIONS BY CUSTOMERS OF DEBTOR
                             GUMP’S BY MAIL. INC.
 3

 4           Upon the stipulation of the parties, and good cause appearing, IT IS HEREBY ORDERED

 5   that the hearing on the Motion for Precautionary Relief From The Automatic Stay and Other Relief

 6   Necessary to Permit Processing of Credit Card Transactions By Customers of Debtor Gump’s By Mail.

 7   Inc. filed by Worldpay LLC [Docket No. 195] will be continued and re-set for Tuesday, November

 8   13, 2018 at 9:30 a.m.

 9           IT IS FURTHER ORDERED that the date by which the Debtors, the Agent, the Committee

10   or Sterling is required to file any written opposition to the Motion shall be Tuesday, November 6,

11   2018.

12           IT IS FURTHER ORDERED that the date by which Worldpay is required to file a written

13   reply to any opposition to the Motion shall be Thursday, November 8, 2018.

14           This extension is without prejudice to the parties agreeing to additional extensions or seeking

15   such extensions by motion.

16
     Respectfully submitted by:
17
     ANDERSEN LAW FIRM, LTD.
18

19   By:     /s/ Ryan A. Andersen
             Ryan A. Andersen, Esq.
20           101 Convention Center Drive
             Suite 600
21           Las Vegas, Nevada 89109
22
     Attorneys for Worldpay, LLC
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